Case 19-50102-btb Doc 2 Entered 01/30/19 14:30:31 Page 1 of 1

Fi|l in this information to identify the case:

Debtor name Double Jump, Inc.

 

United States Bankruptcy Court for the; District of NeVada
(S‘ate) El check ifthis is an
amended H|ing

Case number (|f known):

 

 

Officia| Form 204
Chapter 1 1 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not lnsiders 12/15

 

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

Name of creditor and complete Name, telephone number, and Nature of the claim indicate if Amount of unsecured claim
mailing address, including zip code email address of creditor (for example trade claim is if the Claim is fully Unsecured ml in On|y unsecured
wm@f d®wwmwws wwwwvcmmmwmumwemmm%w@nmn
PFOT§SSiOna' U"'iquidated» total claim amount and deduction for value of
SeFV'C€S~ and °r disputed collateral or setoff to calculate unsecured claim
government
contracts)
Total claim, if Deduction for Unsecured
partially value of claim
secured collateral or
setoff

NONE

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